                  IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA


UNITED STATES OF AMERICA,

                 Plaintiff,

          and

KUSKOKWIM RIVER INTER-                       Case No. 1:22-cv-00054-SLG
TRIBAL FISH COMMISSION, et al.,

                 Intervenor-Plaintiffs,

          v.

THE STATE OF ALASKA, et al.,

                 Defendants.


  ORDER RE ASSOCIATION OF VILLAGE COUNCIL PRESIDENTS, BETTY
       MAGNUSON, AND IVAN IVAN’S MOTION TO INTERVENE
      Before the Court at Docket 19 is the Association of Village Council

Presidents (“AVCP”), Betty Magnuson, and Ivan Ivan’s Motion to Intervene as of

right as Plaintiffs in the above-captioned matter. Plaintiff and Intervenor-Plaintiff

do not oppose the motion. Defendants filed a response taking no position on the

motion at Docket 36.

      In light of the foregoing, IT IS ORDERED that the motion at Docket 19 is

GRANTED, and the case caption shall be amended as shown above. Intervenor-

Plaintiffs AVCP, Magnuson, and Ivan shall file a clean copy of their Complaint in

Intervention within 7 days of the date of this order.




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      DATED this 1st day of July, 2022, at Anchorage, Alaska.

                                                 /s/ Sharon L. Gleason
                                                 UNITED STATES DISTRICT JUDGE




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